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                                   4                                    UNITED STATES DISTRICT COURT

                                   5                                   NORTHERN DISTRICT OF CALIFORNIA

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                                   7     UNITED STATES OF AMERICA,                           Case No. 22-cr-00276-JSC-1
                                                          Plaintiff,
                                   8
                                                                                             PRETRIAL ORDER NO. 1
                                                    v.
                                   9
                                                                                             Re: Dkt. No. 16
                                  10     ALLEN GESSEN,
                                                          Defendant.
                                  11

                                  12
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                                  13           1.        Trial Date

                                  14           Trial is set for May 1, 2023, beginning at 8:30 a.m., in Courtroom 8, 19th Floor, 450

                                  15   Golden Gate Avenue, San Francisco, California. The Court is expecting the length of trial to not

                                  16   exceed 5 days. The government shall provide all discovery, including, expert notification to the

                                  17   defense by March 23, 2023.

                                  18           2.        Jury Questionnaire

                                  19           The Court intends to utilize an electronic written jury questionnaire. The standard

                                  20   questionnaire is available on the Northern District’s website at http://www.cand.uscourts.gov/wp-

                                  21   content/uploads/attorneys/Internet-version_Standard-CAND-Trial_SurveyMonkey_3-

                                  22   2022.pdf. The Court may add an additional 10 case-specific questions. The parties shall meet

                                  23   and confer, and to the extent possible, file a joint list of proposed questions to add to the

                                  24   questionnaire. To the extent that the parties cannot agree, they may submit separate proposed

                                  25   questions from which the Court will choose 10. The parties joint or separate submissions are due

                                  26   by March 30, 2023. The Court will provide the parties with the survey responses the Friday

                                  27   before trial, if not earlier.

                                  28           3.        Pretrial Conference
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                                   1           A Pretrial Conference is set for April 19, 2023 at 1:30 p.m., in Courtroom 8, 19th Floor,

                                   2   450 Golden Gate Avenue, San Francisco, California. A Joint Pretrial Conference Statement

                                   3   consistent with N.D. Cal. Crim. L.R. 17.101 as appropriate, is due by April 6, 2023.

                                   4           4.      Motions In Limine

                                   5           Any party wishing to have motions in limine heard prior to the commencement of trial

                                   6   must file and serve by April 6, 2023. All motions in limine shall be contained in one document,

                                   7   limited to 25 pages and prepared in accordance with Civil L.R. 7-2(b), with each motion listed as a

                                   8   subheading. Opposition to the motions in limine shall be contained in one document, limited to 25

                                   9   pages, with corresponding subheadings, and shall be filed and served by April 13, 2023. No reply

                                  10   papers will be considered. The motions will be heard at the Pretrial Conference or at such other

                                  11   time as the Court may direct.

                                  12           5.      Jury Instructions
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                                  13           a.      Joint Set of Instructions. The parties shall jointly prepare a set of jury instructions,

                                  14   and shall file the proposed instructions by April 13, 2023. The submission shall contain both

                                  15   agreed-upon instructions (which shall be so noted), and contested instructions, all in the order in

                                  16   which they should be read to the jury. Where contested instructions are included, they should be

                                  17   annotated both with the proponent’s authority for seeking the instruction and the opponent’s

                                  18   reason for opposition.

                                  19           b.      Substance and Format of Instructions. The instructions shall cover all substantive

                                  20   issues and other points not covered by the Ninth Circuit Manual of Model Jury Instructions. Each

                                  21   requested instruction shall be typed in full on a separate page and citations to the authorities upon

                                  22   which the instruction is based shall be included. Instructions shall be brief, clear, written in plain

                                  23   English, and free of argument. Pattern or form instructions shall be revised to address the

                                  24   particular facts and issues of this case.

                                  25           c.      Preliminary Statement and Instructions. If the parties wish to have a preliminary

                                  26   statement read to the jury, and/or preliminary instructions given to the jury, they shall jointly

                                  27   prepare and file the text of the proposed preliminary statement and/or preliminary instructions by

                                  28   April 13, 2023.
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                                   1          6.      Exhibits

                                   2          a.      Provide Copies of Exhibits to Other Parties. The government and, to the extent

                                   3   consistent with the defendant’s right to an effective defense, the defendant shall provide every

                                   4   other party with one set of all proposed exhibits, charts, schedules, summaries, diagrams, and

                                   5   other similar documentary materials to be used in its case in chief at trial, together with a complete

                                   6   list of all such proposed exhibits by April 13, 2023. Voluminous exhibits shall be reduced by

                                   7   elimination of irrelevant portions or through the use of summaries. Each item shall be pre-marked

                                   8   with a trial exhibit sticker (“Trial Exhibit No.__”) label; defendant’s exhibit numbers shall be

                                   9   sequenced to begin after plaintiff’s exhibit numbers. If there are numerous exhibits, they should

                                  10   be provided in three-ring binders with marked tab separators. All exhibits that have not been

                                  11   provided as required are subject to exclusion.

                                  12          b.      Stipulations re Admissibility. At least 7 days prior to the Pretrial Conference, the
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                                  13   parties shall make a good faith effort to stipulate to exhibits’ admissibility. If stipulation is not

                                  14   possible, the parties shall make every effort to stipulate to authenticity and foundation absent a

                                  15   legitimate objection.

                                  16          c.      Objections to Exhibits. In addition to the exhibit list, counsel shall confer with

                                  17   respect to any other objections to exhibits in advance of the Pretrial Conference. Each party shall

                                  18   file a statement briefly identifying each item objected to, the grounds for the objection, and the

                                  19   position of the offering party by April 13, 2023.

                                  20          d.      Provide Copies of Exhibits to Court. One set of exhibits shall be provided to the

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                                   1   Court by April 13, 2023, in binders, marked, tabbed, and indexed in accordance with Local Rule

                                   2   16-10(b)(7). Exhibits shall be identified as follows:

                                   3

                                   4   Counsel preferably will create the tag in a color that will stand out (yet still allow for

                                   5   photocopying), but that is not essential. Place the tag on or near the lower right-hand corner or, if a

                                   6   photograph, on the back. Counsel should complete the tag but leave the last two spaces blank. The

                                   7   parties must jointly prepare a single set of all trial exhibits that will be the official record set to be

                                   8   used with the witnesses and on appeal. Each exhibit must be tagged, three-hole-punched, separated

                                   9   with a label divider identifying the exhibit number, and placed in 3-ring binders. Spine labels

                                  10   should indicate the numbers of the exhibits that are in the binders. Each set of exhibit binders

                                  11   should be marked as “Original.” Deposit the exhibits with the deputy clerk seven (7) days before

                                  12   the Pretrial Conference.
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                                  13           e.      Witness Binders. If all of the exhibits in a case do not fit in one binder, then the

                                  14   parties shall prepare a witness binder for each witness that will testify regarding three or more

                                  15   exhibits.

                                  16           f.      Disposition of Exhibits after Trial. Upon the conclusion of the trial, each party

                                  17   shall retain its exhibits through the appellate process. It is each party’s responsibility to make

                                  18   arrangements with the Clerk of Court to file the record on appeal.

                                  19           7.      Other Pretrial Matters

                                  20           a.      Status Conferences. Any party desiring to confer with the Court may, upon notice

                                  21   to all other parties, arrange a conference through the Courtroom Deputy, Ada Means at

                                  22   jsccrd@cand.uscourts.gov.

                                  23           b.      Daily Transcripts. Should a daily transcript and/or realtime reporting be desired,

                                  24   the parties shall make arrangements with Rick Duvall, Court Reporter Supervisor, at 415-522-

                                  25   2079 or Richard_Duvall@cand.uscourts.gov, at least 7 calendar days prior to the trial date.

                                  26           8.      Trial Matters

                                  27           a.      The normal trial schedule will be from 8:30 a.m. to 3:00 p.m. (or slightly longer to

                                  28   finish a witness) with two fifteen minute breaks and a 45 minute lunch break, but the parties are
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                                   1   encouraged to discuss a different trial schedule at the Pretrial Conference if they deem appropriate.

                                   2   Trial is usually held Monday through Friday.

                                   3           b.      Parties must meet and confer to exchange any visuals, graphics or exhibits to be

                                   4   used in opening statements. Unless otherwise agreed, the exchange must occur no later than April

                                   5   13, 2023. Any objections not resolved must be filed in writing by Thursday before trial. The

                                   6   parties shall be available by video Friday before trial to discuss the issue raised with the Court.

                                   7           c.      The parties shall disclose the witnesses whom they will call at trial on any given

                                   8   day by at least 2:00 p.m. the court day before their testimony is expected. Failure to have a

                                   9   witness ready to proceed at trial will usually constitute resting. If a party objects to this process, it

                                  10   can be addressed at the pretrial conference.

                                  11           d.      Other than a party or party representative, fact witnesses are excluded from the

                                  12   courtroom until they are called to testify, and may not attend in the gallery until their testimony is
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                                  13   complete.

                                  14           e.      The Court does not typically allow bench conferences. If there are matters that

                                  15   need to be raised with the Court outside the presence of the jury, the parties should raise them in

                                  16   the morning before trial or during recess. The Court is available at 8:00 a.m. on each trial day to

                                  17   address issues that need to be raised outside the presence of the jury.

                                  18           9.      Miscellaneous

                                  19           a.      Copies. One copy of the witness and exhibit lists should be furnished to the court

                                  20   reporter.

                                  21           b.      Change of Plea. Counsel shall give prompt notice to the United States Attorney

                                  22   and to the Court of any intention to change a previously entered not guilty plea.

                                  23           IT IS SO ORDERED.

                                  24   Dated: January 11, 2023

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                                                                                                       JACQUELINE SCOTT CORLEY
                                  27                                                                   United States District Judge
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